                         Case 1-22-41218-nhl                          Doc 10             Filed 06/13/22                   Entered 06/13/22 18:06:25



 Fill in this information to identify your case:

 Debtor 1
                     Kiera Moore Cohane
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Eastern District of New YorkDistrict of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 0.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 3,840.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 3,840.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 0.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 43,917.00
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 43,917.00
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 4,132.57
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 4,160.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                       Case 1-22-41218-nhl                     Doc 10     Filed 06/13/22            Entered 06/13/22 18:06:25

                  Kiera Cohane
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        5,868.07
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                               0.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                     16,436.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                               16,436.00
                                                                                                            $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                          Case 1-22-41218-nhl                                  Doc 10                Filed 06/13/22                        Entered 06/13/22 18:06:25



Fill in this information to identify your case and this filing:

                    Kiera Moore Cohane
Debtor 1
                    First Name                Middle Name                 Last Name

Debtor 2
(Spouse, if filing)   First Name                Middle Name                 Last Name


United States Bankruptcy Court for the: Eastern District of New
York
                                                                                                                                                                                                        Check if this is
Case number                                                                                                                                                                                             an amended
(if know)
                                                                                                                                                                                                        filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                           12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
         No. Go to Part 2
         Yes. Where is the property?


Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes
 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         No
         Yes

     Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
 5. you have attached for Part 2. Write that number here...........................................................................................................................................➤             $ 0.00



Part 3:        Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following?                                                                                                                      Current value of the
                                                                                                                                                                                                 portion you own?
 6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                   claims or exemptions.
        Examples: Major appliances, furniture, linens, china, kitchenware
             No
             Yes. Describe...

         Bed frame and mattress, bedroom furniture, small kitchen appliances and living room furniture.                                                                                            $ 1,250.00
 7. Electronics
        Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                  collections; electronic devices including cell phones, cameras, media players, games

             No
             Yes. Describe...

         2016 MacBook Pro, Xbox One, and iPhone X.                                                                                                                                                 $ 900.00




                                                                                                                                                                                                                page 1 of 5
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Debtor 1          Kiera Moore Cohane                                                                                                                                Case number(if known)
                First Name            Middle Name           Last Name




  8. Collectibles of value
        Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                  stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

             No
             Yes. Describe...
  9. Equipment for sports and hobbies
        Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                  and kayaks; carpentry tools; musical instruments

             No
             Yes. Describe...
  10. Firearms
        Examples: Pistols, rifles, shotguns, ammunition, and related equipment
             No
             Yes. Describe...
  11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No
             Yes. Describe...

        Used Clothing: sweaters, sweatshirts, shirts, t-shirts, pants, sweatpants and a winter coat.                                                                                                 $ 750.00
  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...

        Piercings made of white gold.                                                                                                                                                                $ 600.00
  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...

        9 year old rabbit and 7 month old puppy.                                                                                                                                                     $ 1.00
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤           $ 3,501.00



 Part 4:       Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................   Cash ...........................    $ 20.00
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:
        17.1. Checking account:                                     Chase                                                                                                                            $ 121.00

        17.2. Savings account:                                      Chase                                                                                                                            $ 198.00


                                                                                                                                                                                                                 page 2 of 5
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Debtor 1        Kiera Moore Cohane                                                                                  Case number(if known)
              First Name           Middle Name   Last Name




  18. Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

           No
           Yes..................
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture
           No
           Yes. Give specific information about them...........
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific information about them..........
  21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

           No
           Yes. List each account separately
  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                 companies, or others

           No
           Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No
           Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
           No
        Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

           No
           Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

           No
           Yes. Give specific information about them...

 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.
  28. Tax refunds owed to you
           No
           Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                 Federal:                   $ 0.00
                                                                                                                 State:                     $ 0.00
                                                                                                                 Local:                     $ 0.00

  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

           No
           Yes. Give specific information....

                                                                                                                                                         page 3 of 5
                          Case 1-22-41218-nhl                                  Doc 10                Filed 06/13/22                           Entered 06/13/22 18:06:25

Debtor 1          Kiera Moore Cohane                                                                                                                                     Case number(if known)
                First Name          Middle Name          Last Name




  30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                  Social Security benefits; unpaid loans you made to someone else

             No
             Yes. Give specific information....
  31. Interests in insurance policies
             No
             Yes. Name the insurance company of each policy and list its value....
        Company name:                                                                                                              Beneficiary:                                                    Surrender or
                                                                                                                                                                                                   refund value:
        Pets Best Insurance                                                                                                                                                                        $ Unknown
  32. Any interest in property that is due you from someone who has died
             No
             Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
             No
             Yes. Give specific information....
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
        off claims
             No
             Yes. Give specific information....
  35. Any financial assets you did not already list
             No
             Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
      you have attached for Part 4. Write that number here...........................................................................................................................................➤              $ 339.00


 Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
             No. Go to Part 6.
             Yes. Go to line 38.


                Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:        If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
             No. Go to Part 7.
             Yes. Go to line 47.


 Part 7:       Describe All Property You Own or Have an Interest in That You Did Not List Above

  53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership

             No
             Yes. Give specific
            information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                           ................................................➤
                                                                                                                                                                                                                    $ 0.00




                                                                                                                                                                                                                   page 4 of 5
                             Case 1-22-41218-nhl                                      Doc 10                  Filed 06/13/22                           Entered 06/13/22 18:06:25

Debtor 1            Kiera Moore Cohane                                                                                                                                   Case number(if known)
                  First Name            Middle Name           Last Name




 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                              $ 0.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 0.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 3,501.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 339.00
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 0.00
  62. Total personal property. Add lines 56 through 61 ...................                                                     $ 3,840.00                        Copy personal property total➤   +$
                                                                                                                                                                                                      3,840.00
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                               $ 3,840.00




                                                                                                                                                                                                           page 5 of 5
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 Fill in this information to identify your case:

                     Kiera Moore Cohane
 Debtor 1          __________________________________________________________________
                     First Name                   Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                Last Name


                                         ______________________
 United States Bankruptcy Court for the: Eastern District of New York District of __________
                                                                                          (State)
 Case number
  (If known)
                     ___________________________________________                                                                                        Check if this is an
                                                                                                                                                           amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                 4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                      11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on            Current value of the                       Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                    portion you own                            exemption you claim

                                                                Copy the value from                        Check only one box
                                                                Schedule A/B                               for each exemption
                 Household Goods - Bed frame and mattress,                                                                                N.Y. CPLR § 5205 N.Y. Debt. & Cred.
 Brief        bedroom furniture, small kitchen appliances and                                                                             Law § 283
 description: living room furniture.
                                                                           1,250.00
                                                                          $________________            1,250.00
                                                                                                    ✔ $ ____________

                                                                                                      100% of fair market value, up to
 Line from                                                                                               any applicable statutory limit
 Schedule A/B:         6
                 Electronics - 2016 MacBook Pro, Xbox One, and                                                                            N.Y. CPLR § 5205 N.Y. Debt. & Cred.
 Brief           iPhone X.                                                                                                                Law § 283
 description:
                                                                            900.00
                                                                          $________________          $ ____________
                                                                                                     ✔  900.00
                                                                                                      100% of fair market value, up to
 Line from                                                                                               any applicable statutory limit
 Schedule A/B:           7
                 Clothing - Used Clothing: sweaters, sweatshirts,                                                                         NY CPLR § 5205(a)(5)
 Brief
 description:
                 shirts, t-shirts, pants, sweatpants and a winter coat.     750.00
                                                                          $________________            750.00
                                                                                                    ✔ $ ____________

                                                                                                      100% of fair market value, up to
 Line from                                                                                               any applicable statutory limit
 Schedule A/B:           11

 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                              Schedule C: The Property You Claim as Exempt                                                               2
                                                                                                                                                                 page 1 of __
                      Case 1-22-41218-nhl                         Doc 10    Filed 06/13/22          Entered 06/13/22 18:06:25

Debtor           Kiera Moore Cohane
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name      Middle Name           Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                Amount of the                       Specific laws that allow exemption
                                                                       Current value of the   exemption you claim
         on Schedule A/B that lists this property                      portion you own
                                                                      Copy the value from    Check only one box
                                                                       Schedule A/B           for each exemption
               Jewelry - Piercings made of white gold.                                                                             NY CPLR § 5205
Brief
description:
                                                                        600.00
                                                                       $________________         600.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:          12
               Pet(s) - 9 year old rabbit and 7 month old puppy.                                                                   N.Y. Debt. & Cred. Law § 283 (2)
Brief
description:                                                           $________________
                                                                        1.00                  
                                                                                              ✔ $ ____________
                                                                                                  1.00
                                                                                               100% of fair market value, up to
                                                                                                 any applicable statutory limit
Line from
Schedule A/B:        13
               Cash on hand (Cash on Hand)                                                                                         N.Y. CPLR § 5205 N.Y. Debt. & Cred.
Brief                                                                                                                              Law § 283
description:                                                           $________________
                                                                        20.00                 
                                                                                              ✔ $ ____________
                                                                                                  20.00
                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:         16
               Chase (Checking Account)                                                                                            N.Y. CPLR § 5205 N.Y. Debt. & Cred.
Brief                                                                                                                              Law § 283
description:
                                                                        121.00
                                                                       $________________         378.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:         17.1
               Chase (Checking Account)                                                                                            N.Y. CPLR § 5205 N.Y. Debt. & Cred.
Brief                                                                                                                              Law § 283
description:
                                                                        121.00
                                                                       $________________         121.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:         17.1
               Chase (Savings Account)                                                                                             N.Y. CPLR § 5205 N.Y. Debt. & Cred.
Brief                                                                                                                              Law § 283
description:
                                                                        198.00
                                                                       $________________         198.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:         17.2
               Pets Best Insurance                                                                                                 N.Y. CPLR § 5205 N.Y. Debt. & Cred.
Brief                                                                                                                              Law § 283
description:
                                                                        Unknown
                                                                       $________________         1.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:           31

Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
                                                                                                 any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
                                                                                                 any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:


 Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                  2
                                                                                                                                                    page ___ of __2
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  Fill in this information to identify your case:

  Debtor 1           Kiera Moore Cohane
                     First Name                            Last Name
                                        Middle Name

  Debtor 2
  (Spouse, if filing)      First Name
                                             Middle Name
                                                                Last Name



  United States Bankruptcy Court for the: Eastern District of New York

  Case number                                                                                                                                      Check if this is
  (if know)                                                                                                                                        an amended
                                                                                                                                                   filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:     List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A           Column B          Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of          Value of          Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not           collateral that   portion If any
                                                                                                              deduct the value   supports this
                                                                                                              of collateral.     claim
      Add the dollar value of your entries in Column A on this page. Write that number here:                     $ 0.00


  Part 2:     List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




Official Form 106D                                          Schedule D: Creditors Who Have Claims Secured by Property                                     page 1 of 1
                           Case 1-22-41218-nhl                    Doc 10             Filed 06/13/22             Entered 06/13/22 18:06:25


   Fill in this information to identify your case:

                   Kiera Moore Cohane
   Debtor 1
                   First Name                                Last Name
                                          Middle Name

   Debtor 2
   (Spouse, if filing)     First Name
                                               Middle Name
                                                                  Last Name



   United States Bankruptcy Court for the: Eastern District of New York

   Case number                                                                                                                                            Check if this is
   (if know)                                                                                                                                              an amended
                                                                                                                                                          filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.
   2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
      claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
      amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured
      claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3. (For an explanation of
      each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                                 Total claim   Priority      Nonpriority
                                                                                                                                               amount        amount
  2.1                                                                    Last 4 digits of account number
         Internal Revenue Service                                                                                                $ 0.00        $ 0.00        $ 0.00
         Priority Creditor's Name
                                                                         When was the debt incurred?

         PO Box 7346                                                     As of the date you file, the claim is: Check all
         Number        Street                                            that apply.
         Centralized Insolvency Agency                                      Contingent
                                                                            Unliquidated
         Philadelpia PA            19101-7346                               Disputed
         City             State    ZIP Code

         Who owes the debt? Check one.                                   Type of PRIORITY unsecured claim:
                                                                            Domestic support obligations
             Debtor 1 only
                                                                            Taxes and certain other debts you owe the
             Debtor 2 only
                                                                            government
             Debtor 1 and Debtor 2 only                                     Claims for death or personal injury while you were
             At least one of the debtors and another                        intoxicated
             Check if this claim relates to a community                    Other. Specify
             debt
         Is the claim subject to offset?
             No
             Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                               page 1 of 4
                              Case 1-22-41218-nhl               Doc 10          Filed 06/13/22             Entered 06/13/22 18:06:25
 Debtor           Kiera Moore Cohane                                                                                       Case number(if known)
                 First Name           Middle Name   Last Name




  2.2                                                              Last 4 digits of account number
          NYS Dept of Tax And Finance                                                                                       $ 0.00         $ 0.00        $ 0.00
          Priority Creditor's Name
                                                                   When was the debt incurred?

          Bankruptcy Section                                       As of the date you file, the claim is: Check all
          Number        Street                                     that apply.
          PO Box 5300                                                 Contingent
                                                                      Unliquidated
          Albany NY              12205-0300                           Disputed
          City       State       ZIP Code

          Who owes the debt? Check one.                            Type of PRIORITY unsecured claim:
                                                                      Domestic support obligations
              Debtor 1 only
                                                                      Taxes and certain other debts you owe the
              Debtor 2 only
                                                                      government
              Debtor 1 and Debtor 2 only                              Claims for death or personal injury while you were
              At least one of the debtors and another                 intoxicated
              Check if this claim relates to a community             Other. Specify
              debt
          Is the claim subject to offset?
              No
              Yes
   Part 2:        List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
        Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

  4.1                                                              Last 4 digits of account number 9683
          Apple Card/Gs Bank Usa                                                                                                                           $ 2,703.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 2021-2022

          Lockbox 6112 Po Box 7247                                 As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Philadelphia PA               19170                         Unliquidated
          City                State     ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.2                                                              Last 4 digits of account number 2588
          Bestegg                                                                                                                                          $ 4,796.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred? 04/2022

          Po Box 42912                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Philadelphia PA               19101                         Unliquidated
          City                State     ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Loan to pay off credit card.
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                             page 2 of 4
                              Case 1-22-41218-nhl                Doc 10          Filed 06/13/22             Entered 06/13/22 18:06:25
 Debtor           Kiera Moore Cohane                                                                                      Case number(if known)
                 First Name         Middle Name      Last Name




  4.3                                                               Last 4 digits of account number ****
          Discover Bank                                                                                                                             $ 766.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 2017-2022

          Po Box 30939                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Salt Lake City UT              84130                         Unliquidated
          City                   State   ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.4                                                               Last 4 digits of account number 3368
          Sofi Bank                                                                                                                               $ 19,216.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 01/2022

          2750 E Cottonwood Pkwy                                    As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Cottonwood Heights UT                   84121                Unliquidated
          City                           State    ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                     Other. Specify Loan consolidation service for credit card
          Is the claim subject to offset?                           debt.
              No
              Yes

  4.5                                                               Last 4 digits of account number 8581
          Us Dept Of Ed/Glelsi                                                                                                                    $ 16,436.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 2013

          Po Box 7860                                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Madison WI              53707                                Unliquidated
          City          State     ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
     you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


   Part 4:        Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                   page 3 of 4
                            Case 1-22-41218-nhl              Doc 10          Filed 06/13/22             Entered 06/13/22 18:06:25
 Debtor         Kiera Moore Cohane                                                                                    Case number(if known)
               First Name      Middle Name   Last Name




                                                                                                           Total claim

   Total claims        6a. Domestic support obligations                                          6a.   $ 0.00
   from Part 1
                       6b. Taxes and certain other debts you owe the                             6b.   $ 0.00
                       government
                       6c. Claims for death or personal injury while you were                    6c.   $ 0.00
                           intoxicated
                       6d. Other. Add all other priority unsecured claims. Write that            6d.   $ 0.00
                           amount here.
                       6e. Total. Add lines 6a through 6d.                                       6e.
                                                                                                        $ 0.00



                                                                                                           Total claim

   Total claims        6f. Student loans                                                         6f.   $ 16,436.00
   from Part 2
                       6g. Obligations arising out of a separation agreement or                  6g.   $ 0.00
                           divorce that you did not report as priority claims
                       6h. Debts to pension or profit-sharing plans, and other                   6h.   $ 0.00
                           similar debts
                       6i. Other. Add all other nonpriority unsecured claims. Write that         6i.   $ 27,481.00
                           amount here.
                       6j. Total. Add lines 6f through 6i.                                       6j.
                                                                                                        $ 43,917.00




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                page 4 of 4
                        Case 1-22-41218-nhl                   Doc 10         Filed 06/13/22              Entered 06/13/22 18:06:25


  Fill in this information to identify your case:

  Debtor 1
                     Kiera Moore Cohane
                      First Name                                Last Name
                                         Middle Name

  Debtor 2
  (Spouse, if filing)       First Name
                                              Middle Name
                                                                     Last Name



  United States Bankruptcy Court for the: Eastern District of New York

  Case number                                                                                                                        Check if this is
  (if know)                                                                                                                          an amended
                                                                                                                                     filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is
    for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
    executory contracts and unexpired leases.


       Person or company with whom you have the contract or lease State what the contract or lease is for




Official Form 106G                                          Schedule G: Executory Contracts and Unexpired Leases                             page 1 of 1
                          Case 1-22-41218-nhl                Doc 10         Filed 06/13/22           Entered 06/13/22 18:06:25


Fill in this information to identify your case:

Debtor 1
                Kiera Moore Cohane
                     First Name                            Last Name
                                        Middle Name

Debtor 2
(Spouse, if filing)        First Name
                                             Middle Name
                                                                Last Name



United States Bankruptcy Court for the: Eastern District of New York

Case number                                                                                                                            Check if this is
(if know)                                                                                                                              an amended
                                                                                                                                       filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two
married people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the
Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any
Additional Pages, write your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
       Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
    shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
    Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
    Schedule E/F, or Schedule G to fill out Column 2.


       Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                                                                                              Check all schedules that apply:




Official Form 106H                                                      Schedule H: Your Codebtors                                              page 1 of 1
                         Case 1-22-41218-nhl              Doc 10          Filed 06/13/22           Entered 06/13/22 18:06:25


 Fill in this information to identify your case:

                      Kiera Moore Cohane
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: ______________________      District
                                          Eastern District of New York
                                                                                   tate)
 Case number         ___________________________________________                                       Check if this is:
  (If known)
                                                                                                        An amended filing
                                                                                                        A supplement showing postpetition chapter 13
                                                                                                          income as of the following date:
                                                                                                          ________________
Official Form 106I                                                                                        MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                            Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                          ✔ Employed
    information about additional         Employment status                                                                Employed
    employers.                                                            Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.                                                   Senior Accountant
                                         Occupation                     __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.                                         Dan Klores Communications
                                         Employer’s name
                                                                         LLC
                                                                       __________________________________            __________________________________


                                         Employer’s address               261 5th Ave
                                                                       _______________________________________     ________________________________________
                                                                        Number Street                               Number    Street
                                                                          Floor 12
                                                                       _______________________________________     ________________________________________

                                                                       _______________________________________     ________________________________________

                                                                          New York, NY 10016
                                                                       _______________________________________     ________________________________________
                                                                        City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________
                                                                   9 Months                                          ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                  For Debtor 1       For Debtor 2 or
                                                                                                                     non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.           2.       5,868.07
                                                                                                 $___________           $____________

 3. Estimate and list monthly overtime pay.                                                3.   + $___________
                                                                                                          0.00      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                           4.       5,868.07
                                                                                                 $__________            $____________




Official Form 106I                                                 Schedule I: Your Income                                                      page 1
                        Case 1-22-41218-nhl                               Doc 10            Filed 06/13/22                 Entered 06/13/22 18:06:25

Debtor 1
                 Kiera Moore Cohane
                 _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.        5,868.07
                                                                                                                          $___________            $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.        1,735.50
                                                                                                                         $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________            $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________            $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________            $_____________
                                                                                                                                0.00
                                                                                                                         $____________            $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                                 0.00         +   $_____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.        1,735.50
                                                                                                                         $____________            $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.        4,132.57
                                                                                                                         $____________            $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________            $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________            $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________            $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.            0.00
                                                                                                                         $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            4,132.57
                                                                                                                         $___________     +       $_____________      =      4,132.57
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             4,132.57
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔    No.
          Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
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  Fill in this information to identify your case:

                     Kiera Moore Cohane
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                               An amended filing
                                          Eastern District of New York
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________       District of __________                     expenses as of the following date:
                                                                                      (State)
                                                                                                                  ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  ✔ No
                                                                                          Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                  Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’
                                                                                                                                                      No
                                                                                           _________________________                ________
   names.                                                                                                                                             Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                  1,250.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                        0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                        0.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                   100.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                      0.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                               page 1
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                    Kiera Moore Cohane
 Debtor 1          _______________________________________________________                    Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                        $_____________________
                                                                                                                                         0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                     6a.    $_____________________
                                                                                                                                      150.00
        6b.   Water, sewer, garbage collection                                                                   6b.    $_____________________
                                                                                                                                         0.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.    $_____________________
                                                                                                                                      180.00
        6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________
                                                                                                                                         0.00
 7. Food and housekeeping supplies                                                                               7.     $_____________________
                                                                                                                                      740.00
 8. Childcare and children’s education costs                                                                     8.     $_____________________
                                                                                                                                         0.00
 9. Clothing, laundry, and dry cleaning                                                                          9.     $_____________________
                                                                                                                                      220.00
10.    Personal care products and services                                                                       10.    $_____________________
                                                                                                                                      165.00
11.    Medical and dental expenses                                                                               11.    $_____________________
                                                                                                                                      225.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        $_____________________
                                                                                                                                      380.00
       Do not include car payments.                                                                              12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
                                                                                                                                      400.00
14.     Charitable contributions and religious donations                                                         14.    $_____________________
                                                                                                                                         0.00
                                                                                                                                                       1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                      15a.                    0.00
                                                                                                                        $_____________________
        15b. Health insurance                                                                                    15b.   $_____________________
                                                                                                                                      250.00
        15c. Vehicle insurance                                                                                   15c.   $_____________________
                                                                                                                                      100.00
        15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________
                                                                                                                                         0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                        16.
                                                                                                                                        0.00
                                                                                                                        $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                          17a.   $_____________________
                                                                                                                                         0.00
        17b. Car payments for Vehicle 2                                                                          17b.   $_____________________
                                                                                                                                         0.00
        17c. Other. Specify:_______________________________________________                                      17c.   $_____________________
                                                                                                                                         0.00
        17d. Other. Specify:_______________________________________________                                      17d.                    0.00
                                                                                                                        $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                          18.                    0.00
                                                                                                                        $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                            19.
                                                                                                                                         0.00
                                                                                                                        $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                         20a.   $_____________________
                                                                                                                                         0.00
        20b. Real estate taxes                                                                                   20b.   $_____________________
                                                                                                                                         0.00
        20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________
                                                                                                                                         0.00
        20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________
                                                                                                                                         0.00
        20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________
                                                                                                                                         0.00


      Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
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                   Kiera Moore Cohane
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 4,160.00
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 4,160.00
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       4,132.57
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 4,160.00
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                     -27.43
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
      
      ✔   Yes.      Explain here:   Debtor expects to resume student loan payments in September 2022 and for rent to increase
                                    to $1,750 in September 2022.




      Official Form 106J                                        Schedule J: Your Expenses                                                       page 3
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Fill in this information to identify your case:

Debtor 1           Kiera Moore Cohane
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:Eastern District of New York District of __________
                                                                                (State)
Case number         ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Kiera Moore Cohane
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              06/10/2022
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                     Declaration About an Individual Debtor’s Schedules
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 Fill in this information to identify your case:

                    Kiera Moore Cohane
 Debtor 1
                    First Name           Middle Name        Last Name

 Debtor 2
 (Spouse, if filing)   First Name          Middle Name        Last Name



 United States Bankruptcy Court for the: Eastern District of New York

 Case number
 (if know)                                                                                                                                                     Check if this is
                                                                                                                                                               an amended
                                                                                                                                                               filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                      4/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.
                                                                          Debtor 1                                               Debtor 2

                                                                          Sources of income         Gross income                 Sources of income          Gross income
                                                                          Check all that apply      (before deductions           Check all that apply       (before deductions
                                                                                                    and exclusions)                                         and exclusions)

         From January 1 of current year until the date
         you filed for bankruptcy:                                           Wages,               $ 24,466.00                       Wages,              $
                                                                             commissions,                                           commissions,
                                                                             bonuses, tips                                          bonuses, tips
                                                                             Operating a business                                   Operating a business


         For last calendar year:
                                                                             Wages,               $ 63,766.00                       Wages,              $
         (January 1 to December 31, 2021                                     commissions,                                           commissions,
                                                                             bonuses, tips                                          bonuses, tips
                                                                             Operating a business                                   Operating a business


         For the calendar year before that:
                                                                             Wages,               $ 39,654.00                       Wages,              $
         (January 1 to December 31, 2020                                     commissions,                                           commissions,
                                                                             bonuses, tips                                          bonuses, tips
                                                                             Operating a business                                   Operating a business



Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1 of 6
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Debtor          Kiera Moore Cohane                                                                                              Case number(if known)
               First Name      Middle Name   Last Name




5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
   unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
   and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
   Debtor 1.

   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
         No
         Yes. Fill in the details.


 Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

               * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.


 Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.

10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details


Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 2 of 6
                               Case 1-22-41218-nhl                     Doc 10           Filed 06/13/22                 Entered 06/13/22 18:06:25

Debtor            Kiera Moore Cohane                                                                                                   Case number(if known)
                 First Name           Middle Name   Last Name




12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes

 Part 5:          List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:          List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.


 Part 7:          List Certain Payments or Transfers

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.
                                                                        Description and value of any property transferred                      Date payment      Amount of
                                                                                                                                               or transfer was   payment
                                                                                                                                               made
                                                                                                                                               05/2022           $ 2,500.00
          Ortiz & Ortiz LLP                                                                                                                                      $
          Person Who Was Paid
          287 Park Avenue South
          Number         Street
          Ste 213

          New York NY                 10010
          City                State   ZIP Code


          Email or website address


          Person Who Made the Payment, if Not You



17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.




Official Form 107                                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3 of 6
                           Case 1-22-41218-nhl                 Doc 10           Filed 06/13/22                 Entered 06/13/22 18:06:25

Debtor         Kiera Moore Cohane                                                                                              Case number(if known)
              First Name      Middle Name   Last Name




19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.


 Part 8:       List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.


 Part 9:       Identify Property You Hold or Control for Someone Else

23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:       Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.


 Part 11:       Give Details About Your Business or Connections to Any Business




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 4 of 6
                           Case 1-22-41218-nhl                 Doc 10           Filed 06/13/22                 Entered 06/13/22 18:06:25

Debtor         Kiera Moore Cohane                                                                                              Case number(if known)
              First Name      Middle Name   Last Name




27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            A member of a limited liability company (LLC) or limited liability partnership (LLP)
            A partner in a partnership
            An officer, director, or managing executive of a corporation
            An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 5 of 6
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Debtor         Kiera Moore Cohane                                                                                                 Case number(if known)
              First Name         Middle Name   Last Name




 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ Kiera Moore Cohane
         Signature of Debtor 1                                                 Signature of Debtor 2

         Date 06/10/2022                                                       Date

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                                 Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                             Declaration, and Signature (Official Form 119).




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 6 of 6
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  Fill in this information to identify your case:
                     Kiera Moore Cohane
   Debtor 1
                     First Name           Middle Name         Last Name

   Debtor 2
   (Spouse, if filing)   First Name         Middle Name         Last Name



   United States Bankruptcy Court for the: Eastern District of New York

   Case number
   (if known)
                                                                                                                                             Check if this is
                                                                                                                                             an amended
                                                                                                                                             filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                         12/15

If you are an individual filing under chapter 7, you must fill out this form if:
◾ creditors have claims secured by your property, or
◾ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known).

 Part 1:       List Your Creditors Who Have Secured Claims


 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
                                                                     What do you intend to do with the property Did you claim the property as
    Identify the creditor and the property that is collateral
                                                                     that secures a debt?                           exempt on Schedule C?


 Part 2:       List Your Unexpired Personal Property Leases


   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
   fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
   ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).
      Describe your unexpired personal property leases Will the lease be assumed?


 Part 3:       Sign Below


 Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
 property that is subject to an unexpired lease.



       /s/ Kiera Moore Cohane
         Signature of Debtor 1                                                                Signature of Debtor 2


       Date 06/10/2022                                                                      Date 06/10/2022
               MM/DD/YYYY                                                                           MM/DD/YYYY




 Official Form 108                                            Statement of Intention for Individuals Filing Under Chapter 7                         page 1 of 1
                         Case 1-22-41218-nhl                  Doc 10           Filed 06/13/22        Entered 06/13/22 18:06:25

 Fill in this information to identify your case:                                                         Check one box only as directed in this form and in
                                                                                                         Form 122A-1Supp:
 Debtor 1         Kiera  Moore Cohane
                  __________________________________________________________________
                     First Name                Middle Name                 Last Name
                                                                                                            1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                Middle Name                 Last Name                     
                                                                                                         ✔   2. The calculation to determine if a presumption of
                                                                                                                abuse applies will be made under Chapter 7
                                         Eastern District
 United States Bankruptcy Court for the: ____________     of of
                                                       District New  York
                                                                 _______________
                                                                                                                Means Test Calculation (Official Form 122A–2).
 Case number        ___________________________________________                                             3. The Means Test does not apply now because of
 (If known)
                                                                                                                qualified military service but it could apply later.


                                                                                                          Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
        
        ✔     Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

             Married and your spouse is NOT filing with you. You and your spouse are:
                   Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                   Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                           Column A             Column B
                                                                                                           Debtor 1             Debtor 2 or
                                                                                                                                non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                        5,868.07
                                                                                                             $_________            0.00
                                                                                                                                  $__________

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                                  0.00
                                                                                                             $_________            0.00
                                                                                                                                  $__________

   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                                0.00
                                                                                                             $_________            0.00
                                                                                                                                  $__________

   5. Net income from operating a business, profession,
                                                                          Debtor 1     Debtor 2
      or farm
      Gross receipts (before all deductions)                                  0.00
                                                                             $______    0.00
                                                                                       $______
        Ordinary and necessary operating expenses                            0.00 – $______
                                                                          – $______  0.00
                                                                                                  Copy
        Net monthly income from a business, profession, or farm               0.00
                                                                             $______    0.00
                                                                                       $______ here          0.00
                                                                                                             $_________            0.00
                                                                                                                                  $__________

   6. Net income from rental and other real property                      Debtor 1     Debtor 2
      Gross receipts (before all deductions)                                  0.00
                                                                             $______    0.00
                                                                                       $______
        Ordinary and necessary operating expenses                            0.00 – $______
                                                                          – $______  0.00
                                                                                                  Copy
        Net monthly income from rental or other real property                $______    0.00
                                                                                       $______ here          0.00
                                                                                                             $_________            0.00
                                                                                                                                  $__________
  7. Interest, dividends, and royalties                                                                       0.00
                                                                                                             $_________            0.00
                                                                                                                                  $__________



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Debtor 1           Kiera Moore Cohane
                   _______________________________________________________                                                    Case number (if known)_____________________________________
                   First Name              Middle Name                      Last Name



                                                                                                                                   Column A                    Column B
                                                                                                                                   Debtor 1                    Debtor 2 or
                                                                                                                                                               non-filing spouse

   8. Unemployment compensation                                                                                                        0.00
                                                                                                                                     $__________                    0.00
                                                                                                                                                                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ................................ 
            For you ..................................................................................     0.00
                                                                                                         $______________
            For your spouse ..................................................................             0.00
                                                                                                         $______________
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled if
      retired under any provision of title 10 other than chapter 61 of that title.                                                     0.00
                                                                                                                                     $__________                    0.00
                                                                                                                                                                  $___________
   10. Income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act; payments received
       as a victim of a war crime, a crime against humanity, or international or domestic
       terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
       States Government in connection with a disability, combat-related injury or disability, or
       death of a member of the uniformed services. If necessary, list other sources on a
       separate page and put the total below.
           ______________________________________                                                                                      0.00
                                                                                                                                     $_________                     0.00
                                                                                                                                                                  $___________
           ______________________________________                                                                                      0.00
                                                                                                                                     $_________                     0.00
                                                                                                                                                                  $___________
           Total amounts from separate pages, if any.                                                                               0.00
                                                                                                                                 + $_________                      0.00
                                                                                                                                                               + $___________
   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                                                             5,868.07
                                                                                                                                     $_________
                                                                                                                                                           +        0.00
                                                                                                                                                                  $___________
                                                                                                                                                                                      =    5,868.07
                                                                                                                                                                                          $__________
                                                                                                                                                                                          Total current
                                                                                                                                                                                          monthly income

   Part 2:           Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.       Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here         5,868.07
                                                                                                                                                                                      $__________

                  Multiply by 12 (the number of months in a year).                                                                                                                    x 12
       12b.       The result is your annual income for this part of the form.                                                                                                  12b.     70,416.84
                                                                                                                                                                                      $__________

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                                                     NY

       Fill in the number of people in your household.                                                   1

       Fill in the median family income for your state and size of household. ................................................................................................. 13.     63,548.00
                                                                                                                                                                                      $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.


   14. How do the lines compare?


       14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3. Do NOT fill out or file Official Form 122A-2.



            ✔ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
       14b. 
                       Go to Part 3 and fill out Form 122A–2.




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Debtor 1     Kiera  Moore Cohane
             _______________________________________________________                              Case number (if known)_____________________________________
             First Name      Middle Name         Last Name



   Part 3:     Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


               /s/ Kiera Moore Cohane
                   __________________________________________________________                   ______________________________________
                   Signature of Debtor 1                                                         Signature of Debtor 2

                       06/10/2022
                  Date _________________                                                         Date _________________
                       MM / DD / YYYY                                                                 MM / DD / YYYY


                   If you checked line 14a, do NOT fill out or file Form 122A–2.
                   If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯¯¯¯¯




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  Fill in this information to identify your case:                                                                                                    Check the appropriate box as directed in
                                                                                                                                                     lines 40 or 42:

  Debtor 1           Kiera Moore Cohane
                    _________________________________________________________________                                                                According to the calculations required by this
                      First Name                             Middle Name                          Last Name
                                                                                                                                                     Statement:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name                             Middle Name                          Last Name                                          ✔
                                                                                                                                                        1. There is no presumption of abuse.

  United States Bankruptcy Court for the: Eastern District of New York
                                          ______________________                                  District of __________                                2. There is a presumption of abuse.
                                                                                                                (State)
  Case number         ___________________________________________
  (If known)
                                                                                                                                                      Check if this is an amended filing



Official Form 122A–2
Cha pt e r 7 M e a ns T e st Ca lc ula t ion                                                                                                                                                  4/22

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).


Pa rt 1 :        De t e rm ine Y our Adjust e d I nc om e



1. Copy your total current monthly income. ........................................................ Copy line 11 from Official Form 122A-1 here ............1.                            5,868.07
                                                                                                                                                                                         $_________

2. Did you fill out Column B in Part 1 of Form 122A–1?

    
    ✔    No. Fill in $0 for the total on line 3.
        Yes. Is your spouse filing with you?

               No. Go to line 3.
               Yes. Fill in $0 for the total on line 3.

3. Adjust your current monthly income by subtracting any part of your spouse’s income not used to pay for the
   household expenses of you or your dependents. Follow these steps:

    On line 11, Column B of Form 122A-1, was any amount of the income you reported for your spouse NOT regularly
    used for the household expenses of you or your dependents?

    
    ✔    No. Fill in 0 for the total on line 3.
        Yes. Fill in the information below:


               State each purpose for which the income was used                                                           Fill in the amount you
               For example, the income is used to pay your spouse’s tax debt or to support                                are subtracting from
               people other than you or your dependents                                                                   your spouse’s income


                ___________________________________________________                                                         $______________


                ___________________________________________________                                                         $______________

                ___________________________________________________                                                       + $______________
            Total. . .............................................................................................           0.00
                                                                                                                            $______________
                                                                                                                                                   Copy total here ...............    ─ $_________
                                                                                                                                                                                           0.00


4. Adjust your current monthly income. Subtract the total on line 3 from line 1.                                                                                                           5,868.07
                                                                                                                                                                                         $_________




  Official Form 122A-2                                                                Chapter 7 Means Test Calculation                                                                    page 1
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Debtor 1       Kiera Moore Cohane
                _______________________________________________________                                                           Case number (if known)_____________________________________
                 First Name          Middle Name               Last Name




Pa rt 2 :       Ca lc ula t e Y our De duc t ions from Y our I nc om e


  The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
  answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
  this form. This information may also be available at the bankruptcy clerk’s office.

  Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
  actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse’s income in line 3
  and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A–1.

  If your expenses differ from month to month, enter the average expense.

  Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A–1 is filled in.



    5. The number of people used in determining your deductions from income
       Fill in the number of people who could be claimed as exemptions on your federal income tax return,
       plus the number of any additional dependents whom you support. This number may be different from
       the number of people in your household.                                                                                                                      1


    National Standards                  You must use the IRS National Standards to answer the questions in lines 6-7.


   6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill
      in the dollar amount for food, clothing, and other items.                                                                                                                   785.00
                                                                                                                                                                                 $________



   7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
      the dollar amount for out-of-pocket health care. The number of people is split into two categoriespeople who are under 65 and
      people who are 65 or olderbecause older people have a higher IRS allowance for health care costs. If your actual expenses are
      higher than this IRS amount, you may deduct the additional amount on line 22.


       People who are under 65 years of age


       7a.     Out-of-pocket health care allowance per person
                                                                                        75.00
                                                                                       $____________


       7b.     Number of people who are under 65
                                                                                         1
                                                                                       X ______

       7c.     Subtotal. Multiply line 7a by line 7b.                                   75.00
                                                                                       $____________              Copy here              75.00
                                                                                                                                         $___________




            People who are 65 years of age or older


       7d.     Out-of-pocket health care allowance per person
                                                                                        153.00
                                                                                       $____________

       7e.     Number of people who are 65 or older                                      0
                                                                                       X ______


       7f.     Subtotal. Multiply line 7d by line 7e.                                   0.00
                                                                                       $____________
                                                                                                                  Copy here              0.00
                                                                                                                                       + $___________

       7g.     Total. Add lines 7c and 7f......................................................................................            75.00
                                                                                                                                         $___________        Copy total here
                                                                                                                                                                                  75.00
                                                                                                                                                                                 $________




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Debtor 1       Kiera  Moore Cohane
                _______________________________________________________                           Case number (if known)_____________________________________
                First Name    Middle Name         Last Name




   Local Standards           You must use the IRS Local Standards to answer the questions in lines 8-15.

   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy
   purposes into two parts:
    Housing and utilities – Insurance and operating expenses
    Housing and utilities – Mortgage or rent expenses

   To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
   To find the chart, go online using the link specified in the separate instructions for this form.
   This chart may also be available at the bankruptcy clerk’s office.


   8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in the
      dollar amount listed for your county for insurance and operating expenses.                                                              730.00
                                                                                                                                             $____________

   9. Housing and utilities – Mortgage or rent expenses:

      9a. Using the number of people you entered in line 5, fill in the dollar amount listed
                                                                                                                   2,164.00
                                                                                                                  $___________
             for your county for mortgage or rent expenses.                                               9a.


      9b.    Total average monthly payment for all mortgages and other debts secured by your home.


             To calculate the total average monthly payment, add all amounts that are
             contractually due to each secured creditor in the 60 months after you file for
             bankruptcy. Then divide by 60.

              Name of the creditor                                          Average monthly
                                                                            payment



              ___________________________________                              $__________


              ___________________________________                             $__________


              ___________________________________ +                            0.00
                                                                               $__________


                                                                                                 Copy                              Repeat this
                                 Total average monthly payment                  0.00
                                                                               $__________
                                                                                                 here
                                                                                                                ─ $___________
                                                                                                                   0.00            amount on
                                                                                                                                   line 33a.

       9c.    Net mortgage or rent expense.
              Subtract line 9b (total average monthly payment) from line 9a (mortgage or                           2,164.00
              rent expense). If this amount is less than $0, enter $0.                                    9c.     $___________     Copy       2,164.00
                                                                                                                                             $___________
                                                                                                                                   here



   10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                   0.00
                                                                                                                                             $___________
       the calculation of your monthly expenses, fill in any additional amount you claim.

      Explain           _________________________________________________________________
      why:
                        _________________________________________________________________

   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
       
       ✔ 0. Go to line 14.
       1. Go to line 12.
       2 or more. Go to line 12.


   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                    0.00
                                                                                                                                             $___________



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Debtor 1            Kiera  Moore Cohane
                    _______________________________________________________                                          Case number (if known)_____________________________________
                    First Name         Middle Name          Last Name




   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for
       each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In
       addition, you may not claim the expense for more than two vehicles.


       Vehicle 1                 Describe Vehicle 1:    _______________________________________________________________
                                                        _______________________________________________________________


       13a.        Ownership or leasing costs using IRS Local Standard                                                    13a.         588.00
                                                                                                                                     $___________

       13b.        Average monthly payment for all debts secured by Vehicle 1.
                   Do not include costs for leased vehicles.
                   To calculate the average monthly payment here and on line 13e, add all
                   amounts that are contractually due to each secured creditor in the 60 months
                   after you filed for bankruptcy. Then divide by 60.

                        Name of each creditor for Vehicle 1                         Average monthly
                                                                                    payment

                     _____________________________________                               0.00
                                                                                       $____________

                     _____________________________________                        +      0.00
                                                                                       $____________

                                                                                                                  Copy                                Repeat this
                                        Total average monthly payment                    0.00
                                                                                       $____________                              ─ $____________
                                                                                                                                      0.00            amount on
                                                                                                                  here                               line 33b.

                                                                                                                                                     Copy net
       13c. Net Vehicle 1 ownership or lease expense                                                                                                 Vehicle 1
                  Subtract line 13b from line 13a. If this amount is less than $0, enter $0. ..............................           0.00
                                                                                                                                    $____________    expense
                                                                                                                                                     here ..... 
                                                                                                                                                                      0.00
                                                                                                                                                                    $_________


       Vehicle 2                 Describe Vehicle 2:    _______________________________________________________________
                                                        _______________________________________________________________

           13d.     Ownership or leasing costs using IRS Local Standard                                                    13d.        0.00
                                                                                                                                     $____________

           13e.     Average monthly payment for all debts secured by Vehicle 2.
                    Do not include costs for leased vehicles.

                        Name of each creditor for Vehicle 2                         Average monthly
                                                                                    payment


                     _____________________________________                               0.00
                                                                                       $____________



                     _____________________________________                         +     0.00
                                                                                       $____________


                                                                                                                    Copy                              Repeat this
                                         Total average monthly payment                  0.00
                                                                                       $____________                              ─ $____________
                                                                                                                                     0.00             amount on
                                                                                                                    here                             line 33c.

                                                                                                                                                     Copy net
       13f. Net Vehicle 2 ownership or lease expense                                                                                                 Vehicle 2
                  Subtract line 13e from 13d. If this amount is less than $0, enter $0. ......................................
                                                                                                                                            0.00
                                                                                                                                    $____________    expense
                                                                                                                                                     here ... 
                                                                                                                                                                     0.00
                                                                                                                                                                    $________


    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
        Public Transportation expense allowance regardless of whether you use public transportation.
                                                                                                                                                                      242.00
                                                                                                                                                                    $________


    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
        deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
        more than the IRS Local Standard for Public Transportation.                                                                                                  0.00
                                                                                                                                                                    $________




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Debtor 1    Kiera Moore Cohane
             _______________________________________________________                             Case number (if known)_____________________________________
              First Name    Middle Name            Last Name




   Other Necessary Expenses               In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                          the following IRS categories.


   16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
       employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from your                          1,735.50
                                                                                                                                                 $________
       pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
       subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
                                                                                                                                                   0.00
                                                                                                                                                 $________
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse’s term life insurance. Do not include premiums for life
       insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance other than term.                  0.00
                                                                                                                                                 $________


   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.
                                                                                                                                                   0.00
                                                                                                                                                 $________
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required:
        as a condition for your job, or
        for your physically or mentally challenged dependent child if no public education is available for similar services.
                                                                                                                                                   0.00
                                                                                                                                                 $________


   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.
                                                                                                                                                   0.00
                                                                                                                                                 $_______


   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
       is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
       health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.                                                  150.00
                                                                                                                                                 $________


   23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
       you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
       service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it       +      0.00
                                                                                                                                                 $_______
       is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 22A-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.                                                                           5,881.50
                                                                                                                                                 $_______
       Add lines 6 through 23.




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Debtor 1   Kiera Moore Cohane
             _______________________________________________________                          Case number (if known)_____________________________________
               First Name     Middle Name       Last Name




   Additional Expense Deductions            These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.


   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
       dependents.

       Health insurance                                            250.00
                                                                  $____________

       Disability insurance                                        0.00
                                                                  $____________

       Health savings account                                 +    0.00
                                                                  $____________

       Total                                                       250.00
                                                                  $____________                  Copy total here .....................................    250.00
                                                                                                                                                          $________

       Do you actually spend this total amount?

          No. How much do you actually spend?                    $___________
       
       ✔   Yes

   26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
      continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your
                                                                                                                                                           0.00
                                                                                                                                                          $________
      household or member of your immediate family who is unable to pay for such expenses. These expenses may include
      contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).


   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of                              0.00
                                                                                                                                                          $_______
       you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
       By law, the court must keep the nature of these expenses confidential.


   28. Additional home energy costs. Your home energy costs are included in your non-mortgage housing and utilities allowance
      on line 8.
      If you believe that you have home energy costs that are more than the home energy costs included in the non-mortgage
                                                                                                                                                           0.00
                                                                                                                                                          $________
      housing and utilities allowance, then fill in the excess amount of home energy costs.
      You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
      claimed is reasonable and necessary.



   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $189.58*
      per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
                                                                                                                                                           0.00
                                                                                                                                                          $_______
      elementary or secondary school.
      You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
      reasonable and necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.

                                                                                                                                                           0.00
                                                                                                                                                          $_______
   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher
      than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the
      food and clothing allowances in the IRS National Standards.
      To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
      this form. This chart may also be available at the bankruptcy clerk’s office.
      You must show that the additional amount claimed is reasonable and necessary.


                                                                                                                                                           0.00
                                                                                                                                                          $_______
   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
      instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).


                                                                                                                                                           250.00
                                                                                                                                                          $_______
   32. Add all of the additional expense deductions.
       Add lines 25 through 31.




Official Form 122A-2                                         Chapter 7 Means Test Calculation                                                             page 6
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Debtor 1        Kiera  Moore Cohane
                  _______________________________________________________                                                        Case number (if known)_____________________________________
                   First Name         Middle Name                Last Name




   Deductions for Debt Payment


   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33g.
       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.


                                                                                                                                           Average monthly
                                                                                                                                           payment
                   Mortgages on your home:

           33a. Copy line 9b here ....................................................................................................          0.00
                                                                                                                                               $_____________

                   Loans on your first two vehicles:                                                                   
           33b. Copy line 13b here. ................................................................................................            0.00
                                                                                                                                               $_____________

           33c. Copy line 13e here. ...............................................................................................            0.00
                                                                                                                                               $_____________
           33d. List other secured debts:                                                                              
                                                                             Identify property that                  Does payment
           Name of each creditor for other                                                                           include taxes or
           secured debt                                                      secures the debt
                                                                                                                     insurance?


                 _______________________________                             ________________________
                                                                                                                             No
                                                                                                                                                 0.00
                                                                                                                                               $____________
                                                                                                                             Yes


                 _______________________________                             ________________________
                                                                                                                             No                 0.00
                                                                                                                                               $____________
                                                                                                                             Yes

                                                                                                                             No
                                                                                                                                                 0.00
                _______________________________                              ________________________                                      +   $____________
                                                                                                                             Yes

                                                                                                                                                       0.00     Copy total
      33e. Total average monthly payment. Add lines 33a through 33d. ...............................................                           $____________
                                                                                                                                                                here             0.00
                                                                                                                                                                                 $_________


   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?

       
       ✔       No. Go to line 35.
              Yes. State any amount that you must pay to a creditor, in addition to the payments
                    listed in line 33, to keep possession of your property (called the cure amount).
                    Next, divide by 60 and fill in the information below.

    Name of the creditor                                Identify property that secures                Total cure                               Monthly cure
                                                        the debt                                      amount                                   amount

    ______________________________                      __________________________                  $___________ ÷ 60 =                        $_____________

    _____________________________                       __________________________                  $___________ ÷ 60 =                        $_____________

     _____________________________                      __________________________                  $___________ ÷ 60 =                    +   $_____________

                                                                                                                                                                Copy total
                                                                                                                             Total                      0.00
                                                                                                                                               $_____________                     0.00
                                                                                                                                                                                 $________
                                                                                                                                                                here


   35. Do you owe any priority claims such as a priority tax, child support, or alimony ─
       that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

       
       ✔      No. Go to line 36.
             Yes. Fill in the total amount of all of these priority claims. Do not include current or
                   ongoing priority claims, such as those you listed in line 19.

                      Total amount of all past-due priority claims .................................................................             0.00
                                                                                                                                               $____________    ÷ 60 =            0.00
                                                                                                                                                                                 $_________




Official Form 122A-2                                                           Chapter 7 Means Test Calculation                                                                  page 7
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Debtor 1      Kiera Moore Cohane
                _______________________________________________________                                                     Case number (if known)_____________________________________
                First Name         Middle Name               Last Name




   36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
       For more information, go online using the link for Bankruptcy Basics specified in the separate
       instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk’s office.
        No. Go to line 37.
       
       ✔ Yes. Fill in the following information.
                    Projected monthly plan payment if you were filing under Chapter 13                                                        0.00
                                                                                                                                             $_____________
                    Current multiplier for your district as stated on the list issued by the
                    Administrative Office of the United States Courts (for districts in Alabama and
                    North Carolina) or by the Executive Office for United States Trustees (for all
                    other districts).                                                                                                    x       8.4%
                                                                                                                                                 ______
                    To find a list of district multipliers that includes your district, go online using the
                    link specified in the separate instructions for this form. This list may also be
                    available at the bankruptcy clerk’s office.
                                                                                                                                                               Copy total
                    Average monthly administrative expense if you were filing under Chapter 13                                                0.00
                                                                                                                                             $_____________                     0.00
                                                                                                                                                                               $_________
                                                                                                                                                               here



   37. Add all of the deductions for debt payment.                                                                                                                              0.00
                                                                                                                                                                               $_________
       Add lines 33e through 36.


   Total Deductions from Income


   38. Add all of the allowed deductions.

      Copy line 24, All of the expenses allowed under IRS                                       5,881.50
                                                                                              $______________
      expense allowances ..............................................................

      Copy line 32, All of the additional expense deductions .........                          250.00
                                                                                              $______________


      Copy line 37, All of the deductions for debt payment ............                       0.00
                                                                                          + $______________

      Total deductions                                                                         6,131.50
                                                                                              $______________                     Copy total here                              6,131.50
                                                                                                                                                                               $_________


   Pa rt 3 :      De t e rm ine Whe t he r T he re I s a Pre sum pt ion of Abuse


   39. Calculate monthly disposable income for 60 months

       39a.    Copy line 4, adjusted current monthly income .....                              5,868.07
                                                                                              $_____________

       39b.    Copy line 38, Total deductions. .........                                  −     6,131.50
                                                                                              $_____________

       39c.    Monthly disposable income. 11 U.S.C. § 707(b)(2).                               -263.43                            Copy line            -263.43
                                                                                              $_____________                                          $____________
               Subtract line 39b from line 39a.                                                                                   39c here

                For the next 60 months (5 years) .............................................................................................        x 60
                                                                                                                                                                      Copy
                                                                                                                                                    -15,805.75
       39d. Total. Multiply line 39c by 60. ................................................................................................. 39d. $____________                -15,805.75
                                                                                                                                                                      line 39d $________
                                                                                                                                                                      here


   40. Find out whether there is a presumption of abuse. Check the box that applies:

       
       ✔ The line 39d is less than $9,075*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to
            Part 5.

           The line 39d is more than $15,150*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
            may fill out Part 4 if you claim special circumstances. Then go to Part 5.

           The line 39d is at least $9,075*, but not more than $15,150*. Go to line 41.

            * Subject to adjustment on 4/01/25, and every 3 years after that for cases filed on or after the date of adjustment.


Official Form 122A-2                                                       Chapter 7 Means Test Calculation                                                                    page 8
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Debtor 1        Kiera  Moore Cohane
                 _______________________________________________________                          Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




   41. 41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out A
            Summary of Your Assets and Liabilities and Certain Statistical Information
            Schedules (Official Form 106Sum), you may refer to line 3b on that form.                              41a.
                                                                                                                         $___________

                                                                                                                         x   .25

            41b. 25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I)
                                                                                                                         $___________              $________
                Multiply line 41a by 0.25.                                                                                               Copy
                                                                                                                                         here



   42. Determine whether the income you have left over after subtracting all allowed deductions
       is enough to pay 25% of your unsecured, nonpriority debt.
       Check the box that applies:

             Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
              Go to Part 5.

             Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption
              of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.




Pa rt 4 :        Give De t a ils About Spe c ia l Circ um st a nc e s

43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
    reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

   
   ✔ No. Go to Part 5.
    Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
                for each item. You may include expenses you listed in line 25.


               You must give a detailed explanation of the special circumstances that make the expenses or income
               adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
               expenses or income adjustments.

                                                                                                                         Average monthly expense
                  Give a detailed explanation of the special circumstances
                                                                                                                         or income adjustment

                  _______________________________________________________________________________                        $__________________

                  _______________________________________________________________________________                        $__________________

                  _______________________________________________________________________________
                                                                                                                         $__________________

                  _______________________________________________________________________________                        $__________________




Pa rt 5 :      Sign Be low


               By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



                /s/ Kiera Moore Cohane
                   ___________________________________________________               ___________________________________
                   Signature of Debtor 1                                                  Signature of Debtor 2


                        06/10/2022
                  Date _________________                                                        06/10/2022
                                                                                          Date _________________
                          MM / DD   / YYYY                                                     MM / DD    / YYYY



Official Form 122A-2                                            Chapter 7 Means Test Calculation                                                     page 9
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

       You are an individual filing for bankruptcy,                      $245     filing fee
        and                                                                $78     administrative fee
                                                                +          $15     trustee surcharge
       Your debts are primarily consumer debts.
                                                                          $338     total fee
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                  Chapter 7 is for individuals who have financial
        primarily for a personal, family, or                    difficulty preventing them from paying their
        household purpose.”                                     debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
The types of bankruptcy that are                                bankruptcy discharge relieves you after
available to individuals                                        bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
       Chapter 7 — Liquidation
                                                                However, if the court finds that you have
       Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
       Chapter 12 — Voluntary repayment plan
                                                                may deny your discharge.
                     for family farmers or
                     fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
       Chapter 13 — Voluntary repayment plan
                                                                debts are not discharged under the law.
                     for individuals with regular
                                                                Therefore, you may still be responsible to pay:
                     income
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
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   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167    filing fee
If your income is above the median for your                     +          $571    administrative fee
state, you must file a second form —the                                  $1,738    total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If



Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 2
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Read These Important Warnings


Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.
Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.
You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200   filing fee                                    future earnings. If the court approves your
+           $78   administrative fee                            plan, the court will allow you to repay your
           $278   total fee
                                                                debts, as adjusted by the plan, within 3 years or
                                                                5 years, depending on your income and other
Similar to chapter 13, chapter 12 permits
                                                                factors.
family farmers and fishermen to repay their
debts over a period of time using future                        After you make all the payments under your
earnings and to discharge some debts that are                   plan, many of your debts are discharged. The
not paid.                                                       debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
                                                                    most student loans,
            individuals with regular
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee                                        debts for fraud or defalcation while acting
+          $78    administrative fee                                 in a fiduciary capacity,
          $313    total fee
                                                                    most criminal fines and restitution
                                                                     obligations,
Chapter 13 is for individuals who have regular
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.                      certain debts for acts that caused death or
You are eligible for chapter 13 only if your                         personal injury, and
debts are not more than certain dollar amounts                      certain long-term secured debts.
set forth in 11 U.S.C. § 109.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3
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                                                                    A married couple may file a bankruptcy case
    Warning: File Your Forms on Time                                together—called a joint case. If you file a joint
                                                                    case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                        address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                    bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The                   your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do                you file a statement with the court asking that
    not file this information within the deadlines set by           each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                    Understand which services you
    their deadlines, go to:                                         could receive from credit
    http://www.uscourts.gov/forms/bankruptcy-forms                  counseling agencies

                                                                    The law generally requires that you receive a
                                                                    credit counseling briefing from an approved
                                                                    credit counseling agency. 11 U.S.C. § 109(h).
Bankruptcy crimes have serious
                                                                    If you are filing a joint case, both spouses must
consequences
                                                                    receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                     you must receive it within the 180 days before
      assets or make a false oath or statement                      you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                     is usually conducted by telephone or on the
      in writing—in connection with a                               Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                          In addition, after filing a bankruptcy case, you
                                                                    generally must complete a financial
      All information you supply in connection                     management instructional course before you
      with a bankruptcy case is subject to                          can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                    case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                        You can obtain the list of agencies approved to
      offices and employees of the U.S.                             provide both the briefing and the instructional
      Department of Justice.                                        course from: http://www.uscourts.gov/services-
                                                                    forms/bankruptcy/credit-counseling-and-debtor-
Make sure the court has your                                        education-courses.
mailing address                                                     In Alabama and North Carolina, go to:
The bankruptcy court sends notices to the                           http://www.uscourts.gov/services-
mailing address you list on Voluntary Petition                      forms/bankruptcy/credit-counseling-and-
for Individuals Filing for Bankruptcy (Official                     debtor-education-courses.
Form 101). To ensure that you receive
                                                                    If you do not have access to a computer, the
information about your case, Bankruptcy
                                                                    clerk of the bankruptcy court may be able to
Rule 4002 requires that you notify the court of
                                                                    help you obtain the list.
any changes in your address.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 4
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     B2030 (Form 2030) (12/15)


                                      United States Bankruptcy Court
                                                             Eastern District of New York
                                               __________________________________
     In re   Kiera Moore Cohane

                                                                                                             Case No. _______________

    Debtor                                                                                                            7
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         2,500.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                         475.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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 B2030 (Form 2030) (12/15)
      d. [Other provisions as needed]
pursuant to the terms of the firm's retainer agreement with the Debtor.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
pursuant to the terms of the retainer agreement with the Debtor. Excluded services include, but are not limited to, the commencement and defense
of adversary proceedings.
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                                       CERTIFICATION
  I certify that the foregoing is a complete statement of any agreement or arrangement for
      payment to me for representation of the debtor(s) in this bankruptcy proceeding.

   06/10/2022                       /s/ Norma E. Ortiz, 2206530
 _____________________             _________________________________________
 Date                                    Signature of Attorney
                                    Ortiz & Ortiz, LLP
                                   _________________________________________
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